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 1   [Submitting Counsel on Signature Page]

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 8                                UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10

11   IN RE: SOCIAL MEDIA ADOLESCENT                  MDL No. 3047
     ADDICTION/PERSONAL INJURY
12   PRODUCTS LIABILITY LITIGATION,                  Case No. 4:22-md-03047-YGR (PHK)

13   This Document Relates To:                       JOINT STATUS REPORT ON
                                                     DISCOVERY FOR JANUARY 25, 2024,
14   ALL ACTIONS                                     DISCOVERY MANAGEMENT
                                                     CONFERENCE
15
                                                     Judge: Hon. Yvonne Gonzalez Rogers
16
                                                     Magistrate Judge: Hon. Peter H. Kang
17

18          Pursuant to Discovery Management Order No. 1 (ECF No. 503), the Parties submit this

19   Joint Status Report in advance of the January 25, 2024, Discovery Management Conference

20   (“DMC”).

21   I.     Status of Discovery
22          As of the filing of this statement, the Personal Injury and Local Government Entity and

23   School District (“PI/SD”) Plaintiffs have served 175 requests for production (“RFPs”) on Meta,

24   197 RFPs on TikTok, 116 RFPs on Google and YouTube, and 121 RFPs on Snap. Of those, 108

25   requests are identical and were served on all Defendants, with responses and objections currently

26   due in late February. The PI/SD Plaintiffs have categorized those requests into the following

27   issues: organization and finance, features and warnings, health and safety, user demographics and

28   targeting, marketing and lobbying, and student safety.

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 1          TikTok served written responses and objections to TikTok-specific “go get ’em” requests

 2   on January 8, 2024,1 and will serve written response to jurisdictional requests directed at

 3   ByteDance Ltd. and TikTok Ltd. on February 10, 2024. Meta will serve written responses and

 4   objections to Meta-specific “go get ’em” requests on February 5, 2024.

 5          As anticipated at the prior hearing, the Personal Injury Plaintiffs also propounded their

 6   Rule 30(b)(6) Notice of Deposition to Defendant Snap with respect to its deletion of certain user

 7   accounts. The deposition is scheduled to take place on January 31, 2024, as to certain of the

 8   topics, and on February 29, 2024, as to others.

 9   II.    Proposed Discovery Plans
10          Pursuant to Discovery Management Order No. 1, at 2 (ECF No. 503), the Parties submit

11   their competing discovery plans and schedules for this Court’s consideration, attached hereto as

12   Exhibit A. The Parties will be prepared to discuss at the DMC.

13   III.   Ripe Discovery Disputes
14          A.      Protective Order
15          As directed by this Court at the December DMC (see ECF No. 503, at 3), on December

16   18, 2023, Plaintiffs resubmitted their objection to Paragraph 7.6 regarding the early disclosure of

17   experts who receive Protected Material designated as “Highly Confidential.” See ECF No. 501

18   (Motion to Modify Protective Order and related briefing); 502 (State Attorneys’ General Position

19   Statement); 506 (Meta’s response to State Attorneys General). The Court previously heard

20   argument on the issue at the December 14, 2023, DMC.

21          B.      ESI Order
22          Following further meet and confers, as directed by this Court (ECF No. 503, at 4), the

23   Parties submitted a joint chart outlining the Parties’ remaining disputes with respect to a proposed

24   ESI Protocol. See ECF No. 534.1. The Parties will be prepared to discuss at the DMC.

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      The PI/SD Plaintiffs and TikTok have begun meet and confer over TikTok’s responses and
28   objections to Plaintiffs’ first set of RFPs and will submit unresolved disputes pursuant Section H
     of this Court’s Discovery Standing Order.
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 1   IV.    Ongoing Discovery Meet and Confers

 2          A.      RFPs and ESI Protocol

 3   Parties’ Position:

 4          As noted above, the PI/SD Plaintiffs have served their initial set of RFPs. They have

 5   already begun to meet and confer on TikTok’s responses and objections to resolve disputes and

 6   expect to do so with the other Defendants once responses and objections are served. Relatedly,

 7   the Parties will be discussing Defendants’ search methodologies to be used to respond to the

 8   RFPs, including identification of custodians, non-custodial data sources, and search terms, as

 9   appropriate. The Parties agree these will be iterative, ongoing discussions in response to

10   Plaintiffs’ discovery requests.

11   Plaintiffs’ Further Position:

12          Other than the 108 common RFPs mentioned above, the PI/SD Plaintiffs’ RFPs to date

13   have largely been “go get ‘em” requests for specific documents that do not require a search

14   methodology, such as search terms. Defendants should be able to quickly locate the document

15   and produced it. Production, moreover, should not be delayed (as it is already with TikTok)

16   because this Court has not ruled on the narrow pending dispute regarding experts of the already-

17   entered Protective Order (ECF No. 290) or the pending disputes in the ESI protocol, none of

18   which prevent production of specific documents. Indeed, Meta, TikTok, and Snap have already

19   made productions to Plaintiffs despite these pending disputes.

20   Defendants’ Further Position:

21          As noted above, the PI/SD Plaintiffs have served a total of 609 RFPs on all Defendants,

22   including 175 RFPs on Meta, 197 RFPs on TikTok, 116 RFPs on Google and YouTube, and 121

23   RFPs on Snap. The PI/SD Plaintiffs’ 108 common RFPs will require extensive search term and

24   custodial negotiations, and many of the other supposed “go get ’em” requests that are Defendant-

25   specific seek “all documents” and “all communications” related to various documents, which will

26   also require extensive ESI negotiations and time before productions can be made. Defendants are

27   in the process of preparing responses and objections to these requests and will be prepared to

28   begin making initial productions (subject to those responses and objections) following entry of

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 1   the pending Protective Order and ESI Order.

 2          B.      Personal Injury Plaintiff Fact Sheet and Related Orders and Forms
 3          On December 14, 2023, Judge Kuhl entered a Plaintiff Fact Sheet (“PFS”) and PFS

 4   Implementation Order, along with a related “User Account Information Order” and associated

 5   forms. The Parties anticipate soon seeking entry of these orders and forms in this proceeding,

 6   conformed as appropriate.

 7          C.      Local Government Entity and School District Plaintiff Fact Sheet and
                    Personal Injury Defendant Fact Sheet
 8

 9          The PI/SD Plaintiffs and Defendants continue to meet and confer regarding (1) a PFS to

10   be used in the Local Government Entity and School District actions, and (2) a Defendant Fact

11   Sheet to be used in the Personal Injury actions, which will be submitted to Judge Kuhl in the

12   JCCP for resolution in the first instances. Once entered by Judge Kuhl, the PI/SD Plaintiffs and

13   Defendants intend to submit these orders (conformed as appropriate for the MDL) to the Court.

14          D.      Privilege Log
15          On January 5, 2024, Plaintiffs sent to Defendants an initial draft of a privilege log

16   protocol. The Parties are in the process of meeting and conferring on the draft.

17          E.      Law Enforcement Sharing
18   States’ Position:
19          The Personal Injury Plaintiffs and Defendants have been litigating various contested

20   provisions of the Protective Order since its entry in March 2023. See, e.g. Dkt. No. 303

21   (Plaintiffs’ Motion for Relief from Nondispositive Pretrial Order of Magistrate Judge Regarding

22   Expert Disclosure; Dkt. No. 318 (Defendants’ Opposition to Same); Dkt. No. 321 (Plaintiffs’

23   Reply in Support of Same). This briefing occurred before the State Plaintiffs entered this case.

24   The State Plaintiffs first raised the issue of law enforcement sharing with Defendants via email on

25   November 29, 2023. The State Plaintiffs then attempted to discuss this issue with Defendants

26   during a conferral call on November 30, 2023. At that time, Defendants declined to discuss the

27   issue and asked the State Plaintiffs to provide supporting authority for the law enforcement

28   sharing provision. In hopes that this issue could be resolved with Defendants and awaiting a
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 1   more fulsome substantive conferral, the State Plaintiffs did not raise this issue in the limited

 2   briefing addressing expert sharing provisions and ESI protocol submitted to the Court before its

 3   December Discovery Management conference. The State Plaintiffs renewed this issue by sending

 4   Defendants supporting authority on January 8, 2024, again requesting the opportunity to meet and

 5   confer on the issue. The State Plaintiffs received no response, so the State Plaintiffs again emailed

 6   the Defendants on January 10, 2024, about the law enforcement sharing provision. The

 7   Defendants indicated they were not available to meet until January 16, 2024. The parties then

 8   met and conferred on January 17, 2024. The State Plaintiffs also provided the parties with

 9   proposed language for a law enforcement sharing provision on January 17, 2024.

10          Up until January 18, 2024, Defendants advised the State Plaintiffs that the issue was not

11   ripe. Only in the afternoon of January 19, 2024 did Defendants provide the State Plaintiffs with

12   their position that the States Plaintiffs had waived the law enforcement sharing provision. The

13   State Plaintiffs also dispute Defendants’ description of the State Plaintiffs’ proposed law

14   enforcement sharing provision. In light of Defendants’ position, the State Plaintiffs believe that

15   legal arguments about this issue are best addressed in letter briefing. For those reasons, the State

16   Plaintiffs respectfully request that the Court set page limits and a briefing schedule on this issue.

17   Defendants’ Position:
18          Notwithstanding that the State AGs have already submitted briefing to this Court on their

19   protective order disputes, participated in oral argument on the protective order, and submitted

20   post-argument supplemental briefing, they now seek to revisit the restriction on use of documents

21   produced in this proceeding to permit them to unilaterally share those documents with any law

22   enforcement officer anywhere in the world, without restriction. Plaintiffs had many opportunities

23   to raise this issue with the Court, but waived their opportunity. Indeed, on December 13, 2024,

24   the State AGs prepared a “Position Statement Regarding Protective Order” (Dkt. 478), which

25   asked the Court to “remove the expert disclosure obligation imposed by Section 7.6,” but did not

26   seek any law enforcement sharing provision.2 At the December 14 hearing before this Court, the

27
     2
      The State AGs had previously informed Defendants of the purported need for an expert
28   disclosure provision. On November 30, Defendants requested the State’s authority for such a
     provision. No such authority was provided until January 8.
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 1   State AGs then framed the question at the argument as “whether the protective order previously

 2   entered by Magistrate Judge Hixson should be modified.” Yet the only modification sought was

 3   to the expert disclosure provision. Following that hearing, on December 18, the State AGs filed

 4   their supplemental brief, which again did not seek the ability to share documents with law

 5   enforcement (Dkt. 502). By repeatedly failing to raise this issue at the appropriate time, the issue

 6   has been waived.

 7          Even on the merits, their proposal should be rejected. The State AGs seek an expansive

 8   blanket law enforcement sharing provision that would permit them to unilaterally deliver

 9   Defendants’ confidential material to law enforcement agencies anywhere in the world for

10   undefined “law enforcement purposes.” This is not a criminal case, and the State AGs have failed

11   to explain how the unlimited transfer of Defendants’ documents (including potentially Defendants

12   the State AGs have not named in their Complaint) to law enforcement entities across the globe

13   would advance any legitimate local law enforcement need, much less the needs of this civil

14   litigation. What’s more, during the parties’ recent conferral on this issue, the State AGs

15   confirmed they would use this provision to share all Defendant discovery with the State AGs

16   outside the MDL (including with the eleven State AGs that decided to sue Meta in state and

17   federal courts across the country rather than joining the other State AGs in this MDL). The AGs’

18   real goal is transparent: to obtain one-sided coordination that lets them share documents

19   produced in the MDL with AGs suing Meta in state court, with no corresponding limits on the

20   ability of the AGs suing in state court to seek even more discovery elsewhere (and presumably

21   share that discovery with the AGs in the MDL). Any provisions governing discovery

22   coordination should be addressed holistically, not through the guise of a protective order.

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 1                                            ATTESTATION

 2           I, Lexi J. Hzam, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence

 3    to the filing of this document has been obtained from each signatory hereto.

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